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                  IN THE UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

TALITHA KINCADE                         )
BROUGHTON,                              )
                                        )        CAFN: 1:22-cv-04229-ELR
     Plaintiff,                         )
                                        )
v.                                      )
                                        )
WALMART, INC.,                          )
                                        )
        Defendant.                      )

      WALMART, INC.’S FIRST DISCLOSURE OF EXPERT WITNESS

        COMES NOW, Defendant WALMART, Inc. (“Walmart”), and files its First

Disclosure of Expert Witness pursuant to Fed. R. Civ. P. 26(a)1)(A), 26(a)(2)(B)

and Local Rule 26.2(c) as follows:

                                            1.

        Defendant shall rely on the expert testimony of:

        Dr. George Lee Cross, III, MD
        5085 Falcon Chase Lane
        Atlanta, Georgia 30342-2180
        (404) 562-1554

        Curriculum Vitae attached as Exhibit “A” per Fed. R. Civ. P.

26(a)(2)(B)(iv). Dr. Cross is prepared to testify that Plaintiff did not suffer any

acute structural injury as a result of the subject incident, that her behavior
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following the subject incident was not consistent with the behavior of someone

who suffered an acute disc herniation, and that Plaintiff’s injuries and conditions

pre-existed the subject incident.

                                          2.

      Per Fed. R. Civ. P. 26(a)(2)(B)(i)(ii) and (iii), Dr. Cross’ preliminary

disclosure report regarding his review of Plaintiff’s records is attached as Exhibit

“D.” Facts and data replied upon are listed in the report. Dr. Cross’ opinions,

observations, and findings are incorporated by reference herein.

                                          3.

      A list of testimony provided by Dr. Cross for the past four years is attached

as Exhibit “B” per Fed. R. Civ. P. 26(a)(2)(B)(v).

                                          4.

      Per Fed. R. Civ. P. 26(a)(2)(B)(iv), Dr. Cross has submitted invoices totaling

$2,500.00. Dr. Cross’ invoice is attached as Exhibit “C.” A copy of the invoice

which Dr. Cross has submitted is attached as Exhibit “E.”
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                                          5.

      Defendant supplements its Initial Disclosures, specifically No. 6 and

Attachments A and B. Per this disclosure, Defendant identifies Dr. George Lee

Cross, III, MD. as an expert witness and incorporates all exhibits attached to this

disclosure as part of its Rule 26 Disclosures.


      Respectfully submitted this 23 of October, 2023.

                                                 WALDON ADELMAN CASTILLA
                                                 MCNAMARA & PROUT

                                                 /s/ Matthew J. Hurst
                                                 Matthew J. Hurst
                                                 Georgia Bar No. 480267
                                                 Attorney for Walmart, Inc.
900 Circle 75 Parkway
Suite 1040
Atlanta, Georgia 30339
(770) 953-1710
mhurst@waldonadelman.com
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                     CERTIFICATE OF COMPLIANCE

      The undersigned hereby certify that the foregoing PLEADING complies with

the font and point selections approved by the Court and Local Rule 5.1B. The

foregoing pleading has been prepared in 14 point Times New Roman font.


      This 23 of October, 2023.

                                           WALDON ADELMAN CASTILLA
                                           MCNAMARA & PROUT

                                           /s/ Matthew J. Hurst
                                           Matthew J. Hurst
                                           Georgia Bar No. 480267
                                           Attorney for Walmart, Inc.
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Atlanta, Georgia 30339
(770) 953-1710
mhurst@waldonadelman.com
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                          CERTIFICATE OF SERVICE

      The undersigned further certifies that they have this date served upon

counsel for all parties in the foregoing matter a copy of the foregoing

DEFENDANT’S FIRST DISCLOSURE OF EXPERT WITNESS with the Clerk of Court

using the CM/ECF system, which will automatically send e-mail notification of

such filing to all attorneys of record as follows:

                             Christopher S. Harris, Esq.
                               Harris & Harris, LLC.
                                   P.O. Box 679
                              Palmetto, Georgia 30268
                           Harrisandharrislaw@gmail.com

      This 23 of October, 2023.

                                               WALDON ADELMAN CASTILLA
                                               MCNAMARA & PROUT

                                               /s/ Matthew J. Hurst
                                               Matthew J. Hurst
                                               Georgia Bar No. 480267
                                               Attorney for Walmart, Inc.
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